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                                   STATEMENT OF FACTS

        Your affiant, Michael B. Miller, is a Special Agent with the Federal Bureau of
Investigation. Among my duties, I have been tasked with investigating criminal activity in and
around the U.S. Capitol grounds that occurred on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detention,
investigation, or prosecution of violations of Federal criminal laws. The U.S. Capitol is secured 24
hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include permanent and
temporary security barriers and posts manned by U.S. Capitol Police. Only authorized people with
appropriate identification are allowed access inside the U.S. Capitol. On January 6, 2021, the
exterior plaza of the U.S. Capitol was also closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

       At such time, the certification proceedings still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, shortly after
2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.
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        On January 7, 2021, an anonymous caller provided information to the Federal Bureau of
Investigation (FBI) that a close relation to the caller had seen that an individual named Valerie
Elaine EHRKE, of Arbuckle, CA, had posted a video to Facebook of her inside the U.S. Capitol
building during the events described above.

        A check of the public Facebook page belonging to EHRKE with the display name “Valerie
Elaine Ehrke” showed a video posted on January 6, 2021, at 2:09 p.m. The video showed a group
of people entering the U.S. Capitol building with a caption reading, “We made it inside, right
before they shoved us all out. I took off when I felt pepper spray in my throat! Lol.” The video is
taken from the first-person perspective. Thus, it shows that whoever took the video also entered
the U.S. Capitol with the rest of the group. A screenshot of that video is displayed here:




        The profile page shows a flaming “Q” and a map commonly associated with QAnon, a far
right conspiracy group. The profile also posted a video at 11:57 a.m., again from the first-person
perspective. That video shows the taker of the video walking with people through an area that
appears to be in the streets of the District of Columbia. The caption to the video reads “B squad
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getting’ it, on the way to the breached capitol building.” A screenshot of that video is displayed
here:




       A search of FBI databases showed EHRKE departed Sacramento International Airport
(SMF) on January 5, 2021, and arrived at Reagan National Airport (DCA) the same day. On
January 9, 2021, EHRKE departed Reagan National Airport and arrived in Sacramento the same
day.

       On January 13, 2021, FBI agents interviewed EHRKE at her place of employment. EHRKE
confirmed that she had traveled to Washington, D.C. on January 5, 2021. She stated that on January
6, 2021, she and a friend attended a rally for President Trump, where she listened to President
Trump speak. She heard President Trump tell the crowd to go to the U.S. Capitol, and he would
go with them. EHRKE instead went back to her hotel room, turned on the television, and saw a
news story about how people were going into the U.S. Capitol building. EHRKE decided she
wanted to be part of the crowd, and she walked to the U.S. Capitol.

       EHRKE stated that when she arrived at the U.S. Capitol building, she joined a group
entering through a set of double doors and proceeded about fifteen (15) feet into the building. The
crowd then started to push backward going out the doors through which they had entered. An
unknown man grabbed her and pushed her outside.
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        Based on the foregoing, your affiant submits that there is probable cause to believe that
Valerie Elaine EHRKE violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Valerie Elaine EHRKE
violated 40 U.S.C. § 5104(e)(2), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.


                                                      _________________________________
                                                      Michael B. Miller
                                                      Federal Bureau of Investigation

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this      day of January 2021.


                                                      ___________________________________


                                                      U.S. MAGISTRATE JUDGE
